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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                            )
JASON COURTEMANCHE, BRETT                   )
FORESMAN, JUAN RIOS, and DENNIS )
WILLIAMS, on behalf of themselves and )
all others similarly situated,              )
                                            )
        Plaintiff(s),                       )
                                            )
v.                                          )        Civil No. 4:24-CV-40030-MRG
                                            )
MOTOROLA SOLUTIONS, INC.,                   )
CALLYO 2009 CORP., SHI                      )
INTERNATIONAL CORP., and                    )
JOHN E. MAWN, JR., 1                        )
interim Superintendent of the               )
Massachusetts State Police, in his official )
capacity,                                   )
                                            )
        Defendant(s).                       )
                                            )

                  ORDER ON SHI’S MOTION TO DISMISS [ECF No. 31]

GUZMAN, J.

   I.      INTRODUCTION

        Plaintiffs’ First Amended Complaint (“FAC”) alleges that the Massachusetts State Police

(“MSP”) unlawfully recorded the contents of conversations between officers and Plaintiffs, then

used the intercepted recordings to pursue criminal charges against the Plaintiffs and others. [FAC

¶¶ 1-2, 4, ECF No. 8]. Plaintiffs also allege that Defendants Motorola Solutions, Inc. (“Motorola”),

Callyo 2009 Corp. (“Callyo”), and SHI International Corp. (“SHI”) “willfully procured MSP” in

committing the alleged interceptions by providing the MSP with intercepting devices and storing

the recordings on Motorola’s server. [Id. ¶¶ 3, 24]. SHI moved to dismiss Plaintiffs’ claims against




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it, arguing that Plaintiffs have not put forth a sufficient factual basis to state a plausible claim

against SHI. For the reasons stated below, the Court agrees and SHI’s motion to dismiss, [ECF

No. 31] is GRANTED.

    II.       LEGAL STANDARD

           Dismissal under Rule 12(b)(6) is appropriate “if, after accepting all well-pleaded facts as

true and drawing all reasonable inferences in favor of a plaintiff, the court determines that [the

complaint] ‘fails to state a claim upon which relief can be granted.”’ Doe v. Williston Northampton

Sch., 766 F. Supp. 2d 310, 311-12 (D. Mass. 2011) (quoting Edes v. Verizon Commc’ns, Inc., 417

F.3d 133, 137 (1st Cir. 2005)); Fed. R. Civ. P. 12(b)(6). A complaint must contain sufficient factual

allegations to state a claim to relief that is “both actionable as a matter of law and ‘plausible on its

face.’” Id. (quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009)); Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). To survive a motion to dismiss, a complaint must set forth

“factual allegations, either direct or inferential, respecting each material element necessary to

sustain recovery under some actionable legal theory.” Gagliardi v. Sullivan, 513 F.3d 301, 305 (1st

Cir. 2008) (citation omitted). Further, except in a few limited circumstances, “an adequate

complaint must include not only a plausible claim but also a plausible defendant,” meaning there

must be sufficient factual allegations to establish that a named defendant is plausibly liable for the

unlawful acts alleged in the complaint. Penalbert-Rosa v. Fortuno-Burset, 631 F.3d 592, 594 (1st

Cir. 2011).

    III.      DISCUSSION

           In the FAC, Plaintiffs allege that SHI was a reseller of Motorola/Callyo products containing

the “10-21” and “Mobile Body Bug” applications, which Plaintiffs state MSP procured from SHI


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and utilized to illegally record Plaintiffs without their consent. [FAC ¶¶ 27, 28, 29, 33]. Plaintiffs

have failed to allege any facts to indicate that SHI has any liability in this case. Unlike Motorola

and Callyo, who are direct creators of the products at issue, SHI has a more passive and “middle-

man” role in the supply chain of Motorola devices to MSP. However, Plaintiffs have not alleged

that a single identifiable intercepting device actually came into MSP possession through SHI’s

action. Further, Plaintiffs allege that MSP, not SHI, was directly responsible for the unlawful

recordings. Moreover, Plaintiff allege that MSP began the conduct at issue in the FAC “in or about

2017,” [Id. ¶ 33]. whereas the FAC states that SHI did not begin procuring Motorola/Callyo

products for MSP until “in or around 2022.” [Id. ¶ 30]. As SHI summarizes in its memorandum,

         Plaintiffs do not allege that SHI (i) trained the MSP on use of the products; (ii) were
         asked to, or failed to, modify the products’ “default” setting; (iii) recorded any of
         the Plaintiffs; (iv) failed to disclose recordings to the Plaintiffs after they were
         made; (v) stored any of the data related to those recordings in its databases; or (vi)
         discussed the Massachusetts wiretap law with the MSP, Motorola, or anyone else.
         Indeed, Plaintiffs do not allege that SHI had any knowledge or involvement in any
         of the events at issue in this case. According to the well-pleaded allegations in the
         Amended Complaint, all that SHI did was resell Motorola’s “off-the-shelf
         products.” (Amended Compl. ¶¶ 27, 49.)

[ECF No. 32 at 2]. With such general and barebones allegations, Plaintiffs have not put forth a

sufficient factual basis to establish that SHI is a “plausible defendant.” Penalbert-Rosa, 631 F.3d

at 594–95 (1st Cir. 2011) (dismissing claims because there was “nothing in the complaint beyond

raw speculation to suggest that the named defendants participated—either as perpetrators or

accomplices” in the conduct injuring the plaintiff). Accordingly, Plaintiffs have failed to state a

claim against SHI and the claims against it must be dismissed.

   IV.      CONCLUSION

   For the reasons stated above, SHI’s motion to dismiss, [ECF No. 31], is GRANTED.



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SO ORDERED.

Dated: February 27, 2025

                                          /s/ Margaret R. Guzman
                                         Margaret R. Guzman
                                         United States District Judge




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